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                   IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA
                             SAVANNAH DIVISION




UNITED STATES OF AMERICA


     V.                                             CR 405-121


TERENCE DEVON    HAMILTON




                                    ORDER




     Presently      before   the     Court     is   Defendant    Terence    Devon

Hamilton's motion for early termination of supervised                   release.

Hamilton pled guilty to distribution of 5 grams or more of cocaine

base on November 10, 2005, and was sentenced to serve 200 months

in prison followed by six years of supervised release.                  On March

11, 2019, his sentence was reduced to time served pursuant to 18

U.S.C. § 3582(c)(1)(B) and his supervised release term was reduced

to three years.

     Hamilton has been under the supervision of the United States

Probation   Office    in   this    district    since   his   release.      He   has


completed   over     two   years    of   supervision     with    no   issues    of

noncompliance.     Hamilton has maintained steady employment, now has

a stable residence, and           has tested    negative on all drug tests

administered.      Further, Hamilton's supervising probation officer

does not object to early termination.
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        In light of Hamilton's favorable adjustment to supervision

and    in   consideration       of   the    factors   set   forth    in   18   U.S.C,   §


3553(a), IT     IS   ORDERED         that   Hamilton's      motion   (doc.     105)     is

GRANTED.      Terence Devon Hamilton is hereby discharged from his

term of supervised release.                The Clerk is directed to send a copy

of this      Order   to   Mr.    Christopher     Gaines     of the    United     States

Probation Office, Savannah Division.

        ORDER ENTERED at Augusta, Georgia, this                           day of May,

2021.




                                                |J. RAND^ HALLf CHIEF JUDGE
                                                 ({JITED^TATES DISTRICT COURT
                                                SOUTfTE^ DISTRICT OF GEORGIA
